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11                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
12

13
     X CORP.,
14
                     Plaintiff-Counterclaim Defendant,        Case No. 23-CV-03698-WHA
15
                              v.
16
                                                              Hon. William A. Alsup
17   BRIGHT DATA LTD.,                                        Courtroom 12 – 19th Floor

18                   Defendant-Counterclaim Plaintiff.

19

20                       STIPULATION OF DISMISSAL WITH PREJUDICE
               WHEREAS, on July 26, 2023, X commenced a lawsuit against Bright Data in the United
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     States District Court for the Northern District of California (the “District Court”), captioned X
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     Corp. v. Bright Data, Ltd., 3:23-cv-03698 (N.D. Cal.) (the “Action”);
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               WHEREAS, on December 17, 2024, Bright Data filed a Counterclaim and Answer in the
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     Action;
25
               WHEREAS, this Action has been compromised and settled;
26
               NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and between
27
     the undersigned, counsel of record to all parties to this action, this action is dismissed with
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 1   prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), without costs or attorneys’ fees to any party

 2   hereto.

 3

 4   PURSUANT TO STIPULATION, IT IS SO ORDERED.

 5
     Date:                                           By:      _____________________________
 6                                                            Hon. William H. Alsup
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 1   Dated: June 27, 2025                            Respectfully submitted,

 2
                                                     /s/ Joshua D. Branson
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